
212 P.3d 557 (2009)
STATE of Washington, Respondent,
v.
Oliver W. WEAVER, Jr., Petitioner.
No. 80716-7.
Supreme Court of Washington.
July 8, 2009.

ORDER
¶ 1 Department II of the Court, composed of Chief Justice Alexander and Justices Madsen, Chambers, Fairhurst and Stephens, at its July 7, 2009, Motion Calendar, considered whether review should be granted pursuant to RAP 13.4(b), and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the Petition for Review is granted only on the offender score issue and this case is remanded to the Court of Appeals, Division One, for reconsideration in light of State v. Mendoza, 165 Wash.2d 913, 205 P.3d 113.
For the Court
/s/Gerry L. Alexander
CHIEF JUSTICE
